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IN THE UNITED sTATEs DISTRICT coURT ”"{//f_, 1 _ 111
FoR THE wEsTERN DISTRICT oF TENNESSEE‘_
WESTERN DIvIsIoN 913 fiid’ `~J ! PH 111 1113

 

JAMES M. cRUNK,

 

Plaintiff,
v. No. 01-2573 Ml/V

TAG CHONG (“TEDDY”) KIM, and
ELVIS ROBERT GATES,

Defendants.

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ORDER GRANTING MOTION TO VACATE ORDER STAYING CASE

 

Before the Court is Plaintiff's Motion to Vacate Order
Staying Case, filed April 8, 2005, and amended on May 9, 2005.
On August 7, 2003, the Court stayed this action because former
Defendant ATNG, Inc. had been placed into an lnvoluntary
Bankruptcy in the United States Bankruptcy Court for the Central
District of California.1 On March 28, 2005, Plaintiff filed a
notice of voluntary dismissal with prejudice as to former
Defendant ATNG, lnc. Plaintiff now moves the Court to vacate its
order staying this case. Good cause having been shown,
Plaintiff’s motion is GRANTED.

The Court hereby sets a telephone conference for Friday, May
27, 2005, at 2:30 p.m. to set a new trial schedule in this case.

Plaintiff shall initiate the call with all parties on the line.

 

lOn May 12, 2004, that Bankruptcy action was dismissed, (See
Amended Motion to Vacate Order Staying Case, Ex. B.)

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with Rule 58 and/or 79(3) FHCF' on gil ' o ,|

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Case 2:01-cV-02573-.]PI\/| Document 104 Filed 05/11/05 Page 2 of 3 Page|D 132

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ENTERED this /l day of May, 2005.

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N P. MCCALLA
ED STATES DISTRICT JUDGE

 

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Honorable J on McCalla
US DISTRICT COURT

